1) Ealaly foc 1 FAO fi cp ocbao. VB Document 28 Filed 01/12/21 Page 1 of 1
Cas ase 7:20-c rt 649-VB Document 26 Filed 01/11/21 Page 1 of1

p) 8
NE ra AIELLO CANNICK

Your rights.* Our business

 

CHAN:

VINCENT £
UNITED STATES Db uo

SOUTHERN DISTRICT OF BREWS idls

 

     
     
          
  
 
 

Robert J, Aiello
Deveraux L. Cannick

69-06 Grand Avenue

Maspeth, New York 11378

: (718) 426-0444, Fax (718) 803-9764
Jennifer Arditi Email: info@aiellocannick.com
Of Counsel

John S. Esposito
Anthony J. Rattobaili

APPLICATION GRANTED

SO. ORRERED:

VIA ECF
Honorable Vincent Briccetti
United States District Court
Southern District of New York
300 Quarropas Street

White Plains, New York 10601

 

The papored see tet A nohi
are sutR ciewd , ie conte
Re: United States y. Jorge Arce-Vilanno ow f Vv (Ot. 4 oy SF pe video

Case No.: 20-cr-00649-VB
2 a 10 2]
Zj2r(% 21

Dear Judge Briccetti: a B:00 pm

We are the attorneys for Jorge Arce-Vilanno. He pleaded guilty before Your Honor on
December 17, 2020. He is scheduled\jo be sentenced by Your Honor on February 22, 2021.
Inasmuch as the time he has been incarcagated exceeds the advisory guidelines, further delay of
his sentencing would be violative to the inttrest of justice. Accordingly, we respectfully reque
that the sentence hearing proceed remotely.

Please know that Mr. Arce-Vilanno has been advised of his tig 06 physically present
in the courtroom for the proceeding. However, due to the pandemic pidhthe risks associated
therewith, Mr. Arce-Vilanno waives his right to be physically prese and wishes to proceed
remotely via telephone, video or both.

Thank you in advance for your consideration.

 

DLC/ad

 
